Case:15-10994-SDB Doc#:31 Filed:09/19/19 Entered:09/19/19 16:00:29 Page:1 of 12

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION
IN RE: )
“VDameerar Niéans ) CHAPTER 13
DEBTOR. ) CASE No. | Bn loQSy
)
COMES NOW the Debtor in the above captioned Chapter 73

 

Proceeding and shows this amendment to the Schedules/Statement of

Affairs as follows:

Darrel Sehechule ij &

I declare under penalty of perjury that I have read the
foregoing Amendment, and it is true and correct to the best of my
knowledge, information and belief.

DATED this 9 r a LIS

Tunwee A Mey

Debtor

 

Debtor
Presented By:

Angela McElroy-Magruder

CLAEYS MCELROY-MAGRUDER & ASSOC
512 Telfair Street

Augusta, GA 30901

706-724-6000
DB Doc#:31_ Filed:09/19/19_Entered:09/19/19 16:00:29 Page:2 of 12

  

Debtor 1 Damecia
First Name Middle Narna Last Name

 

Debtor 2
(Spouse, if filing) First Name Middie Nama Last Name

 

United States Bankruptcy Court for the: Southern District of Georgia

Case number 15-10994

i] Check if this is an
amended filing

 

Official Form 106A/B
Schedule A/B: Property 42/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset In the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. lf more space Is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

ea Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1, Do you own or have any legal or equitable Interast in any residence, building, land, or similar property?

] No. Go to Part 2.
L] Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured clalms or exemptions. Put

) Single-family home the amount of any secured claims on Schedule D:

11: Creditors Who Have Claims Secured by Property.

Street address, if available, or other description =) Buble ar mudtiune Gullding

 

 

 

 

 

 

 

LJ Condominium or cooperalive Currant value of the Current value of the
CJ Manufactured or mobila home entire property? portion you own?
C) Land § $
C] investment propery
OQ) Timeshare Describe tha nature of your ownership
City State = ZIP Cade O ot interest (such as fee simple, tenancy by
= the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C) Dabter 4 only
County CL) Dabter 2 only

Cl Dabtor 1 and Debtor 2 only Q) Check if this is community property
CJ At least one of the debtors and another er inetuctions)

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than ona, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions, Put

QO Single-family home the amount of any secured claims on Schadule D:
1.2. oO Duplex or multi-unit building Creditors Who Have Claims Secured by Property.

Street address, if available, or other description

 

 

 

 

 

 

 

1 Condominium or cooperative Current value of the Current value of the
(J Manufactured or mobile home entire property? portion you own?
Q) Lang $ $
LI investment property
C) timeshare Describe the nature of your ownership
City State ZIP Code O interest (such as fee simple, tenancy by
Other tha entireties, or a life estate), if known.
Who has an Interest in the property? Ghack one.
LJ Debtor 1 only
County (J Debtor 2 only
Q) Debtor 1 and Debtor 2 only OC) Cheek if this is community property
(J At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property Identification number:

 

Official Form 106A4/B Schedule AJB: Property page 1
 
  

Dabtor iC qs@la

iret Na

 

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What Is the property? Check all that apply. Bo not deduct secured claims or exemptions. Put
O Single-family home the amount of any secured clalms on Schedule D:
1.3. Craditors Who Hava Claims Secured by Proparty.
Street address, If avallable, or other description O Duplex or multi-unit building
C1 Condominium or cooperative a aan? the en vals ot 7
LJ Manufactured or mobile home prep P ¥
LJ Land $ $
CJ Investment property
City Stata ZipCode (J Timeshare Describe the nature of your ownership
Oo interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest In the property? Check one.
= LI Debtor 1 only
li
call Q) bebtor 2 only
CY Debtor 1 and Debtor 2 only LJ Check if this is community property
LJ At least one of the debtors and another (see instructions)
Other information you wish to add about this Item, such as local
property identification number:
2, Add the dollar value of the portion you own for all of your entrias from Part 1, Including any entries for pages $
you have attached for Part 1. Write that number hare. ...........cccccccccsssccsaseseseseees jadubevivaueads iaveeaiivesstiinedelaseibia aii >

 

 

Describe Your Vehicles

Do you own, lease, or have legal or aquitabla Intarast in any vehicles, whether they are registered or not? Include any vehicles
you own that someone alse drives. If you laase a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcyclas

 

 

 

 

QO No
yas
3.4. Make: Chrysler Who has an interest in the property? Chack one. 9 not deduct secured claims or exemptions. Put
, i the amount of any secured claims on Schedule D:
Madel: PT Cruiser 5 Debtor 1 only Graditors Who Have Glaims Secured by Property.
Debtor 2 only
Year: 2006
ie © Debtor + and Debtor 2 only Giset valle ef oly Cunneatvainaths
Approximate mileage: (CJ At least one of the debtors and another Prep P ¥
Other information:
: Ci check ifthis is community property (see «$4400.00 $4,400.00
Instructions)
l
If you own or have more than one, deseribe here:
3.2. Make: Who has an interest In the property? Check one. 9 not deduct secured claims or exemptions. Pul
the amount of any secured claims on Schedule D:
Model: 2 Debtor 1 only Creditors Who Have Claims Secured by Property.
Debtor 2 onl
Year: Se Current value of the Current value of the
, Q Debtor 1 and Debtor 2 only entire property? erticn vou cen?
Approximate mileage: (J At least one of the debtors and another e ¥
Other information:
CT Cl Check if this is community property (see 8 $

instructions)

se sss

Official Form 106A/B Schedule A/B: Property page 2

 
  

Debtor 1 Marrecigio on _ ‘
— Cas fat u Midele Name Last Na
3.3. Make:
Madel:
Year

Approximate mileage:

Other information:

 

3.4. Make:
Model:
Year:
Approximate mileage:
Other information:

  

Who has an interest in the property? Check one.

C) Debtor 4 only

CL) Debtor 2 only

CL] Debtor 1 and Debtor 2 only

LI At least one of the debtors and another

LJ Chack if this is community proparty (sea
instructions)

Who has an interest in the property? Check one.

LJ Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

C) Check if this is community proparty (sea
instructions)

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Do not daduct secured claims or exemptions. Put
the amount of any seacurad claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the |
antire property? portion you own?

Do not deduct!securad claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
C) Yes

4.1. Make:
Modal:
Year:

Other information:

\

If you own or have more than one, list here:

4.2. Make:
Model:
Year:
Other information:

5.. Add the dollar value of the portion you own for all of your entries from Part 2, Including any entries for pages
you have attached for Part 2. Write that number hare ...................

Official Form 1064/8

Who has an interest in the property? Chack one.

CI Debtor 4 only

CJ Dabtaor 2 only

() Debtor 4 and Debtor 2 only

Cl At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Q) Debtor 4 only

CY debtor 2 only

() Debtor 1 and Debtor 2 only

[J At least one of the debtors and another

C) Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured clalms on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the |
entire property? portion you own?

400.00

 

Schedule A/B: Property

 

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| Part 3: | Describe Your Personal and Household Items

Do you own or have any legal or equitable intarest In any of the following Items? Current value of the

portion you own?

Bo not deduct secured claims
or exemptions.

6. Household goods and furnishings

Examples: Major appliances, furniture, linens, china, kitchenware

CL) No =
Yes. Describe......... mise furnishings located at residence "$4,000.00

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

XI No j pe = :
L] Yes. Describe.......... §

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card callactions; other collections, memorabilia, collectibles

Q No ‘ = SS SSS

C) Yes. Describe... $
9, Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, poal tablas, golf clubs, skis; canoes

and kayaks; carpentry tools; musical instruments
No | a —_—s ; as
C) Yes. Describe.......... ’ $
|

10. Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

&) No a Se SSS SS

C1 Yes. Deseribe.......... | 5
11, Clothes

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accassorias

LJ No oo = oo
Yes. Describe........./ Misc wearing apparel located on person/residence | $400.00

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gams,
gold, silver

CL] No : a ee
) Yes. Describe.......... eee | $25.00

13. Non-farm animals
Examples: Dogs, cats, birds, horses

No a —
Q) Yes. Describe.......... | | $

14, Any other personal and household items you did not already list, including any health aids you did not list

 

HH No ee
C) Yes. Give specific — 7 7
Information.....sssss. | — ——___ ee | 8
18. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached 54,425.00
for Part 3. Write that number here .. seca eopeecstuuenossuesbsenttiyccinnreceds saansssavtevisstsenetbarcia wot ae bina neat eisiattat eal a

 

 

 

Official Form 106A/B Schedule A/B: Property page 4
Debtor iICas@iamec}

 

Ez Describe Your Financial Assets

Do you own or have any legal or equitable interest In any of the following?

16.Gash

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Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you fila your petition

Xl No

O NRE avagsoapassanuiasasigesasvtpesednencwiiivheiaenseteansiie stax penne wusnauuea uv apsoinivelonui saci iain ti

17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same Institution, list each.

C) No
YOS.ceseessessesseeseees

17.1. Checking account:
17.2. Checking account:
17.3, Savings account:
17.4. Savings account:

17.5, Certificates of deposit:

17.6. Other financial account:
17.7, Other financial account:
17.8. Other financial account:

17.9. Other financial account:

18, Bonds, mutual funds, or publicly traded stocks

Examples: Bond funds, investment accounts with brokerage firms, money market accounts

Institution or issuer name:

Institution name:

checking
checking

$80.00
$300.00

 

 

 

 

 

 

fo iF 2 £7 £2 6 oF

 

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

] No

C1] Yes. Give speciic
information about

THEM, ...-cereeesseser esees

Official Form 106A/B

Name of entity:

% of ownership:

% 5

 

Schedule A/E: Property

%
% §

page 5
 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotlable instruments are those you cannot transfer to someone by signing or delivering them.

XI No

L} Yas. Give specific
information about
THEM, vecseecessessecsecees

Issuer name:

 

 

 

21. Retirement or pension accounts
Examples: Interests In IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

No
CI Yes. List each

account separately.. Type of account: Institution name:

401(k) or similar plan:

9/19 Enteredt@@hh@A OndGtii099 Page-7 of 12

 

Pansion plan:

 

IRA:

 

Retirement account:

Keogh:

 

Additional account:

 

Additional account:

oo 29 6 6 2 £ $F

 

22. Security daposits and prepayments
Your share of all unusad deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilitilas (electric, gas, water), telecommunications

companies, or others

MH) No

TY Yessicscsccsscsasscscszivencas

Institution name or individual:

Electric:

 

Gas:

 

Heating oll:

 

Security deposit on rental unit:

 

Prepaid rent:

 

Telephone:

 

Water:

 

Rented furniture:

 

Other:

 

23. Annuities (A contract for a periodic payment of money to you, either for life or fora number of years)

fl No

|

Official Form 106A/B

Issuer name and description:

oF <2 6 62 FF 69 8 Gf

 

 

Schedule A/B: Property

page 6
9/19 Entereds@@hbtyt @rdGth 09m  Page:8 of 12

 

24. Interests In an education IRA, In an account In a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
DD Mies. saccscuscaiunasanmen

Institution name and description. Separately file the records of any Interests.11 U.S.C. § 524(c):

 

 

25. Trusts, equitable or future Interests In property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

I No

OQ) Yes. Give specific
information about them. .. | | 5

 

26, Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

I No — a

C) Yes. Give specific |
information about them. .. $

 

27, Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

CL] No

Yes, Give specific CNA license
information about them... |

30.00

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured

 

claims or exemptions.
28. Tax refunds owed to you
No ee
L] Yes. Give specific information Federal:
about them, including whether
you already filed the returns | State:
And the tax VAIS, ......ceessereees
Local:
29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
i) No a
LI Yes. Give specific information. wc.
Alimony: 5
Maintenance: $
Support: 5
| Divorce settlement: $
| | Property settlement: $
30, Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpald loans you made to someone else
4) No ee
OC) Yes. Give specific information. ws.

Official Form 106A/B Schedule A/B: Property page 7
Debtor Cas aje

 
  

 

9/19 Enteredee@ Maye OraGi BOSS Page:9 of 12

31. Interests in insurance policies \
Examples; Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or ranter's Insurance

CL] No

) Yes. Name the insurance company

 

 

of each policy and list its value. ... Company name: Bervaficnaty: seireener oy enue Nena: |
term policy family 50.00 |

$

$

 

32, Any interest In property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No
C) Yes. Give specific information..............

 

| $
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, Insurance claims, or rights to sue
No _ _ : ——————— = “
CD Yes. Describe each claim. wesc |
a $
34. Other contingant and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
QO) No _ a
] Yes. Describe each claim... pending Pl case - date of accident 12/1/2017, represented by Kurt Lawton |
| - =: sUnknown
35. Any financial assets you did not already list
K] No | —— SE
L] Yes. Give specific information. ......... §
36. Add the dollar value of all of your entries from Part 4, Including any entries for pages you have attached
for Part 4. Write that number Mere 00... cessscseensentnentnininenieeeistiiiesiiasiitiusinsaniemmmminanine a | $880.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interast In any business-related property?
No. Go to Part 6,
CL] Yes. Go to line 38.

Current value of the
Portion you own?

Do nol deduct secured claims
or exemptions.

38. Accaunts recelvable or commissions you already earned

No ee ; ee
C) Yes. Describe... |

$
39, Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telaphones, desks, chairs, electronic devicas
No ae ee
CJ Yes. Describe....... $

Official Form 106A/B Schedule A/B: Property page 8
 

Debtor (ac qWamedig

 

40. Machinery, fixtures, equipment, supplies you use In business, and tools of your trade

No
C) Yes. Deseribe....... 5

41. Inventory
MW No SS a
CL) Yes. Deseribe....... $

42. Interests in partnerships or joint ventures

H) No

Q) Yes. Deseribe....... Name of entity: % of ownership:

ta $
%
% 5,

 

A

 

43, Customer lists, mailing lists, or other compilations
No
Q) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

& No
C) Yes. Describe.........

44. Any business-related property you did not alraady list
Rd No

QC] Yes. Give specific
information .........

 

 

 

 

of fF 6 6 <9 <4

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached 30.00
for Part 5, Write that murmber Mere... .....ccs-sccssssscscssssssssesscsesevenssssvsssessssesesseseatessessessevcesesseeseesennnenererierisnimniernententniisintinssee

 

 

 

Describe Any Farm- and Commercial Flshing-Related Property You Own or Have an Interest In.
If you own or have an interest In farmland, list it in Part 1.

 

46,Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
&) No. Go to Part 7.
OQ) Yes. Go to line 47.
Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47. Farm animals
Examples: Livestock, poultry, farm-ralsed fish

No
Ch: Veessisicsisssisnsieccal = SSS —— —S—SS

Official Form 106A/B Schedule A/B: Property page 9
 

9 Entered:O9#nOpordeentih104 Page-11 of 12

 

48. Crops—elther growing or harvested

hd No ; a

|
LI Yas. Give specific
information. ............ 5

49, Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
No
CY Yes csssssssesssseesees

50.Farm and fishing supplies, chemicals, and feed

No
CY Ves cccccccessscsessccctsee |

51. Any farm- and commercial flshing-related property you did not already list

EH No

L) Yes. Give specific |
information, .....+0... 3

 

 

52. Add the dollar value of all of your antries from Part 6, including any antries for pages you have attached $0.00
for Part 6. Write that mumber Ware .......cccscssssssssssssssssesssssscsenseesnnseransnennsesiseetsseensvusesissssisuassssessssasseeecescenneeennsaraeaneeaenenene >

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

CL) No ere :

mower

Yes. Give specific 380.00
information, ....0

 

 

 

54, Add the dollar value of all of your entries from Part 7. Write that number Were ....occccccccccccccccscccocecccsccccesscc--.-..... §80.00

Ea List the Totals of Each Part of this Form

55. Part 1: Totel reel qamtenten, Mae 2 scssssessscsssissicsssaisasccrvasissssaesntneeestosiarsuvenunebeber wimmauaacinctceatiaiaaaleadaanaiticitaaamuiuaakcs age | $000

 

56. Part 2: Total vehicles, line 5 ' $4,400.00
57. Part 3: Total personal and household Items, line 15 $4,425.00
58. Part 4: Total financial assets, line 36 $380.00
59. Part 5: Total business-related property, lina 45 50.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + 380.00

62. Total personal property. Add lines 56 through 61.................... $9,285.00 {Copy personal property total = “+ $9,285.00

 

63, Total of all property on Schedule AJB, Add line 55 + lin@ 62,.......ccccscssssccesssscscccccccccccsccccesccocscssscsescessseseasecececsescceseccseee 39,285.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA

IN RE: )
Damecia R Means ) CH 13 CASE NO. 15-10994
DEBTOR
)
CERTIFICATE OF SERVICE

Thereby certify that I have served a copy of the within and foregoing by Electronic mail as follows:

Huon Le

Chapter 13 Trustee
notices @chp]3aug.org
570 James Brown Blvd
Augusta GA 30901

This 19th day of September, 2019.

s/Angela McElroy-Magruder
Angela McElroy-Magruder

Georgia Bar #113625
CLAEYS MCELROY-MAGRUDER & KITCHENS
512 Telfair Street
Augusta, GA 30901
706-724-6000
